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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION                              Wl^i-k Pp12:04
UNITED STATES OF AMERICA,                   CASE   NC^                                      r'. I. ! ."'
                                                                                            .




                                                                                    . . - .. Ul^iU
                                                              ^
              Plaintiff,                    JUDGE

       vs.                                  INDICTMENT

ANTHONY J. WILLIAMS,                        18 U. S. C. § 371
    a/k/a "A. J.,"                          18 U. S. C. § 2114(a)
                                            18 U. S. C. § 924(c)(l)(A)(i)-(ii)
              Defendant.                    18 U. S. C. § 2(a)
                                            Pinkerton v. United States


THE GRAND JURY CHARGES:

                                 COUNT 1
        (Conspiracy to Conunit an Offense Against the United States)

      1.     Beginning on or about November 8, 2022, and continuing up to and

including January 25, 2023, the exact dates being unknown, in the Southern District

of Ohio, the defendant, ANTHONY J. WILLIAMS, a/k/a "A. J.," knowingly

conspired and agreedwith Co-Conspirator#1, Co-Conspirator#2, Co-Conspirator#3,

Co-Conspirator #4, and other individuals both known and unknown to the Grand

Jury, to commit certain offenses against the United States, including postal

robberies, mail theft, and bank fraud.

                        OBJECTS OF THE CONSPIRACY

      2.     It was an object ofthis conspiracy to rob employees ofthe United States

Postal Service ("USPS") of property belonging to the United States-namely,

USPS-issuedpostal keys, in violation of 18 U. S. C. § 2114(a) ["Postal Robbery"].
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       3.     It was a further object of this conspiracy to steal and take mail matter

and articles and things contained therein from the United States Mail, in violation of

18 U. S. C. § 1708 ["Mail Theft"]

       4.     It was a further object of the conspiracy to knowingly execute and

attempt to execute a scheme to defraud a bank and to obtain money owned by and

under the custody and control of a bank by means of false and fraudulent pretenses,

representations, and promises, in violation of 18 U. S. C. § 1344 ["Bank Fraud"]

                 MANNER AND MEANS OF THE CONSPIRACY

      The manner and means of conduct used by this conspiracy included, but were

not limited to, the following:

      5.      It was part of the conspiracy that WILLIAMS, together with other

individuals both known and unknown to the Grand Jury, would carry out armed

robberies of USPS employees. WILLIAMS and his co-conspirators targeted these

employees for their postal keys, which could unlock USPS "blue boxes" and other

authorized receptacles for the deposit and delivery of mail matter.

      6.      It was further part of the conspiracy that WILLIAMS, together with

other individuals both known and unknown to the Grand Jury, would then use those

stolen postal keys to access USPS "blue boxes" and other authorized receptacles for

the deposit and delivery of mail matter for the purpose of stealing mail matter and

articles and things contained therein.     This process was referred to as "fishing."

WILLIAMS and his co-conspirators focused on obtaining personal and business

checks, money orders, and other financial instruments that individuals had deposited

with the United States Mail for delivery
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      7.     It was further part of the conspiracy that Co-Conspirator #1, together

with other individuals both known and unknown to the Grand Jury, then executed

and attempted to execute a scheme to defraud banks and to obtain money owned by

and under the custody and control of those banks by means of false and fraudulent

pretenses, representations, and promises.          Co-Conspirator #1 and other co-

conspirators executed and attempted to execute this scheme by first altering the

stolen checks, money orders, and other financial instruments to reflect new payees'

names and new payment amounts.           This process was referred to as "cooking."

Co-Conspirator #1 and other co-conspirators then recruited third parties to deposit

the altered checks, money orders, and other financial instruments into their own

bank accounts, instead of the original, true payees' accounts. These third parties

were referred to as "heads. "         Once the money had been so deposited,

Co-Conspirator#1 and other co-conspirators directed the "heads" to withdraw the

illicit funds from their bank accounts. Co-Conspirator #1 and other co-conspirators

then paid the "heads" a fee from the proceeds of these illicit funds while keeping the

remainder of the illicit funds for themselves.

      8.     It was further part of the conspiracy that Co-Conspirator #1 used the

proceeds of the bank fraud to pay other individuals, including WILLIAMS, to commit

further robberies of USPS employees.

                                    OVERT ACTS

      In furtherance of this conspiracy, and to effect the objects thereof, the following

overt acts, among others, were committed in the Southern District of Ohio by one or

more of the co-conspirators:
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      9.    Beginning on or about November 8, 2022, Co-Conspirator #1 arranged

for Co-Conspirator #2 to provide his Glock 19 handgun to the defendant,

ANTHONY J. WILLIAMS, a/k/a "A. J.," for the purpose of committing an armed

robbery of a USPS employee.

      10.   On November 9, 2022, Co-Conspirator #3 drove the defendant,

ANTHONY J. WILLIAMS, a/k/a "A. J.," to Co-Conspirator #2's house so that

WILLIAMScould pick up Co-Conspirator #2's Glock 19 handgun to use during the

planned armed robbery of a USPS employee.

      11.   On November 9, 2022, Co-Conspirator #3 drove the defendant,

ANTHONY J. WILLIAMS, a/k/a "A. J.," to the vicinity of 720 Michigan Avenue,

Columbus, Ohio, where WILLIAMSrobbed a USPS employee ("Victim #1") of his

postal keys, including his USPS-issued"Arrow Key," at gunpoint.

      12.   On November 9, 2022, the defendant, ANTHONY J. WILLIAMS,

a/k/a "A.J.," turned over the stolen "Arrow Key" to Co-Conspirator #1 in exchange

for roughly $2, 000. 00 - $500. 00 of which Co-Conspirator #1 sent to WILLIAMS via

CashApp shortly after the robbery.

      13.   Beginning on or about December 22, 2022, Co-Conspirator #1 and the

defendant, ANTHONY J. WILLIAMS, a/k/a "A. J.,M worked together to plan

another armed robbery of a USPS employee. As part ofthat plan, Co-Conspirator#1

provided WILLIAIMSwith a firearm, shoes, a mask, and gloves to use during the

robbery.
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        14.    On December 24, 2022, the defendant, ANTHONY J. WILLIAMS,

a/k/a "A. J.," and Co-Conspirator #4 robbed a USPS employee ("Victim #2") of his

postal keys, including his USPS-issued "Arrow Key, "                in the vicinity of

6708 Kodiak Drive, Canal Winchester, Ohio. During this robbery, WILLIAMS and

Co-Conspirator #4 assaulted Victim #2 by punching him in the chin and threatening

to kill him if he did not turn over his postal keys.

        15.    Between on or about November 9, 2022, andJanuary 25, 2023, the exact

dates     being    unknown,      Co-Conspirator        #1   recruited   the   defendant,

ANTHONY J. WILLIAMS, a/k/a "A. J.," and other individuals, both known and

unknown to the Grand Jury, to go "fishing" with stolen postal keys-i. e., to use their

stolen keys to go steal mail from USPS "blue boxes" and other authorized receptacles

for the deposit and delivery of mail matter.

        All in violation of 18 U. S. C. § 371.


                                   COUNT 2
              (Aggravated Robbery of Property of the United States)

        16.    On or about November 9, 2022, in the Southern District of Ohio, the

defendant, ANTHONY J. WILLIAMS, a/k/a "A. J.," did knowingly and intentionally

rob Victim #1, a person having lawful charge, control, and custody of mail, money, or

other property of the United States of his United States Postal Service "Arrow Key,"

and, in effecting such robbery, did jeopardize the life of Victim #1 by the use of a

dangerous weapon, that is, a Glock 19 handgun.

        In violation of 18 U. S. C. § 2114(a).
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                                 COUNT 3
      (Use of a Firearm During and in Relation to a Crime of Violence)

      17.    On or about November 9, 2022, in the Southern District of Ohio, the

defendant, ANTHONY J. WILLIAMS, a/k/a "A. J.," did knowingly and intentionally

use, carry, and brandish a firearm, that is, a Glock 19 handgun, during and in relation

to a crime ofviolence for which he may be prosecuted in a court ofthe United States,

that is, the Robbery of Victim #1 as charged in Count 2 of this Indictment, the

allegations of which are incorporated here by reference.

      In violation of 18 U. S. C. § 924(c)(l)(A)(i)-(ii).


                                COUNT 4
            (Aggravated Robbery of Property of the United States)

      18.    On or about December 24, 2022, in the Southern District of Ohio, the

defendant, ANTHONY J. WILLIAMS, a/k/a "A. J.," did knowingly and intentionally

rob Victim #2, a person having lawful charge, control, and custody of mail, money, or

other property of the United States of his United States Postal Service "Arrow Key,"

and, in effecting such robbery, did wound Victim #2.

      In violation of 18 U.S. C. §§ 2114(a), 2(a), and Pinkerton v. United States,
328 U. S. 640 (1946).


                                                s/Fore erson
                                               Foreperson

KENNETH L. PARKER
UNITED S ATES ATTORNEY




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Assistant United States Attorney
